              Case 2:20-cv-00408-VCF Document 21 Filed 09/18/20 Page 1 of 3




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 2 District of Nevada

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 7 Attorneys for Defendant

 8
                                   UNITED STATES DISTRICT COURT
 9
                                          DISTRICT OF NEVADA
10

11   RONALD S. RICHERSON,                           )
                                                    ) Case No.: 2:20-cv-00408-VCF
12          Plaintiff,                              )
                                                    )       UNOPPOSED MOTION FOR
13                  v.                              )           EXTENSION OF TIME
                                                    )              (FIRST REQUEST)
14   ANDREW SAUL,                                   )
     Commissioner of Social Security,               )
15                                                  )
            Defendant.                              )
16                                                  )
                                                    )
17

18          Defendant Andrew Saul, Commissioner of Social Security (Defendant) respectfully requests

19 that the Court extend the time for Defendant to respond to Plaintiff’s Motion for Reversal and Remand

20 (Dkt. No. 19, filed on August 28, 2020), currently due on September 28, 2020, by 30 days, through

21 and including October 28, 2020. Defendant further requests that all subsequent deadlines set forth in

22 the Court’s scheduling order (Dkt. No. 14) be extended accordingly.

23          This is Defendant’s first request for an extension of time. Good cause exists for this extension

24 due to Defendant’s counsel’s workload as described below. Since Plaintiff’s motion was filed on

25 August 28, 2020, Defendant’s counsel has worked on over 20 district court cases. Counsel is also

26 responsible for other substantive non-litigation matters in the Office of General Counsel. The Office
              Case 2:20-cv-00408-VCF Document 21 Filed 09/18/20 Page 2 of 3




 1 of General Counsel also currently has a number of attorneys out on leave of absence, in addition to

 2 staff attrition, which has increased the undersigned’s workload.

 3          Additional time is required to review the record, to evaluate the numerous issues raised in

 4 Plaintiff’s motion, to determine whether options exist for settlement, and if not, to prepare Defendant’s

 5 response to Plaintiff’s motion. Defendant’s counsel will endeavor to complete these tasks as soon as

 6 possible. This request is made in good faith and with no intention to unduly delay the proceedings,

 7 and counsel apologizes for any inconvenience.

 8          On September 17, 2020, counsel for Defendant conferred with Plaintiff’s counsel, who has no

 9 opposition to this motion.

10          It is therefore respectfully requested that Defendant be granted an extension of time to respond

11 to Plaintiff’s Motion for Reversal and Remand, through and including October 28, 2020.

12

13          Dated: September 17, 2020                       Respectfully submitted,

14                                                          NICHOLAS A. TRUTANICH
                                                            United States Attorney
15
                                                            /s/ Allison J. Cheung
16                                                          ALLISON J. CHEUNG
                                                            Special Assistant United States Attorney
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20                                                          IT IS SO ORDERED:
21
                                                            UNITED STATES MAGISTRATE JUDGE
22

23                                                                    9-18-2020
                                                            DATED: ___________________________
24

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26                                                      2
                Case 2:20-cv-00408-VCF  CERTIFICATE
                                                DocumentOF  21SERVICE
                                                                Filed 09/18/20 Page 3 of 3
         I, Allison J. Cheung, certify that the following individual(s) were served with a copy of the
     foregoing UNOPPOSED MOTION FOR EXTENSION OF TIME (FIRST REQUEST) on the
                            date, and via the method of service, identified below:




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 2

 3

 4

 5
            CM/ECF:
 6
            David F. Chermol
 7          dave@ssihelp.us
            Attorney for Plaintiff
 8

 9          Hal Taylor
            haltaylorlawyer@gbis.com
10          Attorney for Plaintiff
11          Dated: September 17, 2020
12
                                                           /s/ Allison J. Cheung
13                                                         ALLISON J. CHEUNG
                                                           Special Assistant United States Attorney
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